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                  IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF OREGON



MARIE TYVOLL,                                  Case No. 3:20-cv-1878-IM

           Plaintiff,                          FINAL JURY INSTRUCTIONS

     v.

CITY OF PORTLAND, a municipal
corporation; and JUSTIN D.
DAMERVILLE, an individual,

           Defendants.




    READ this 14th day ofNovember, 2024.



                                           /
                                               ~
                                               Karin J. Im rgut
                                               United States District Judge
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                             INSTRUCTION 1
                              DUTY OF JURY
     Members of the Jury: Now that you have heard all of the evidence,

it is my duty to instruct you on the law that applies to this case.

      The Jury will be provided with one or more sets of these

instructions that you may take with you to the jury room to consult

during your deliberations.

      It is your duty to find the facts from all the evidence in the case. To

those facts you will apply the law as I give it to you. You must follow

the law as I give it to you whether you agree with it or not. And you

must not be influenced by any personal likes or dislikes, opinions,

prejudices, or sympathy. That means that you must decide the case

solely on the evidence before you. You will recall that you took an oath

to do so.

      Please do not read into these instructions or anything that I may

say or do or have said or done that I have an opinion regarding the

evidence or what your verdict should be.



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                         INSTRUCTION 2
                      CONDUCT OF THE JURY
     Because you must decide this case based only on the evidence

received in the case and on these instructions, I remind you that you

must not be exposed to any other information about the case or to the

issues it involves. Thus, except for discussing the case with your fellow

jurors during your deliberations:


     Do not communicate with anyone in any way and do not let

     anyone else communicate with you in any way about the merits of

     the case or anything to do with it. This includes discussing the case

     in person, in writing, by phone, tablet, or computer, or any other

      electronic means, via email, text messaging, or any internet chat

     room, blog, website or application, including but not limited to

     Facebook, Instagram, TikTok, YouTube, X (formerly known as

      Twitter), Snapchat, Linkedln, Reddit, BeReal, or any other forms

      of social media. This applies to communicating with your family

     members, your employer, the media or press, and the people

      involved in the trial. If you are asked or approached in any way

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    about your jury service or anything about this case, you must

    respond that you have been ordered not to discuss the matter and

    report the contact to the court.

    Do not read, watch, or listen to any news or media accounts or

    commentary about the case or anything to do with it, although I

    have no information that there will be news reports about this case;

     do not do any research, such as consulting dictionaries, searching

     the Internet, or using other reference materials; and do not make

     any investigation or in any other way try to learn about the case on

     your own. Do not visit or view any place discussed in this case,

     and do not use the Internet or any other resource to search for or

     view any place discussed during the trial. Also, do not do any

     research about this case, the law, or the people involved-

     including the parties, the witnesses, or the lawyers-until you have

     been excused as jurors. If you happen to read or hear anything

     touching on this case in the media, tum away and report it to me as

     soon as possible.


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      These rules protect each party's right to have this case decided

only on evidence that has been presented here in court. The witnesses

took an oath to tell the truth, and the accuracy of their testimony was

tested through the trial process. If you do any research or investigation

outside the courtroom, or gain any information through improper

communications, then your verdict may be influenced by inaccurate,

incomplete, or misleading information that has not been tested by the

trial process. Each of the parties is entitled to a fair trial by an impartial

jury, and if you decide the case based on information not presented in

court, you will have denied the parties a fair trial. Remember, you have

taken an oath to follow the rules, and it is very important that you follow

these rules.

      A juror who violates these restrictions jeopardizes the fairness of

these proceedings, and a mistrial could result that would require the

entire trial process to start over. If any juror is exposed to any outside

information, please notify the court immediately.




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                         INSTRUCTION 3
                      CLAIMS AND DEFENSES
     I will now summarize the positions of the Parties. This summary is

not evidence.

     Plaintiff Marie Tyvoll brings two claims. First, Plaintiff Tyvoll

claims that Defendant Justin Damerville, a Portland police officer, used

excessive force during a protest in Kenton Park on September 28, 2020,

in violation of her rights under the Fourth Amendment to the U.S.

Constitution by spraying her with pepper spray. Second, PlaintiffTyvoll

brings a claim of Battery against Defendant City of Portland based on

the alleged conduct of its employee, Defendant Damerville. Plaintiff

Tyvoll must prove these claims by a preponderance of the evidence.

     PlaintiffTyvoll argues that, as a result of the alleged conduct of

Defendants, she suffered damages in the amount of$100,000. Plaintiff

Tyvoll must prove any damages by a preponderance of the evidence.

     Defendants deny PlaintiffTyvoll's claims. Defendant Damerville

denies using any unreasonable force and claims that all of his actions

were reasonable under the circumstances. Defendant City of Portland


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raises an affirmative defense to the claim that Damerville's conduct was

a battery, asserting that it was justified under the circumstances.

Defendant must prove its affirmative defense by a preponderance of the

evidence. Plaintiff Tyvoll denies that the force was justified.




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                  INSTRUCTION 4
BURDEN OF PROOF - PREPONDERANCE OF THE EVIDENCE
     Plaintiff must prove her claims and damages, and the City must

prove its affirmative defense, by a preponderance of the evidence.

     When a party has the burden of proving any claim or affirmative

defense by a preponderance of the evidence, it means you must be

persuaded by the evidence that the claim or affirmative defense is more

probably true than not true.

     You should base your decision on all of the evidence, regardless of

which party presented it.




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                             INSTRUCTION 5
                            WHAT IS EVIDENCE
      The evidence you are to consider in deciding what the facts are

consists of:

      1.       the sworn testimony of any witness;

      2.       the exhibits that were admitted into evidence;

      3.       any facts to which the lawyers have agreed; and

      4.       any facts that I have instructed you to accept as proved.




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                          INSTRUCTION 6
                       WHAT IS NOT EVIDENCE
       In reaching your verdict, you may consider only the testimony and

exhibits received into evidence. Certain things are not evidence, and you

may not consider them in deciding what the facts are. I will list them for

you:

       (1)   Arguments and statements by lawyers are not evidence. The

       lawyers are not witnesses. What they have said in their opening

       statements, may say in their closing arguments, and have said at

       other times is intended to help you interpret the evidence, but it is

       not evidence. If the facts as you remember them differ from the

       way the lawyers have stated them, your memory of them controls.

       (2)   Questions and objections by lawyers are not evidence.

       Attorneys have a duty to their clients to object when they believe a

       question is improper under the rules of evidence. You should not

       be influenced by the objection or by the court's ruling on it.

       (3)   Testimony that was excluded or stricken, or that you have

       been instructed to disregard, is not evidence and must not be

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     considered. In addition, some evidence was received only for a

     limited purpose; when I have instructed you to consider certain

     evidence only for a limited purpose, you must do so, and you may

     not consider that evidence for any other purpose.

     (4)   Anything you may have seen or heard when the court was not

     in session is not evidence. You are to decide the case solely on the

     evidence received at the trial.




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                     INSTRUCTION 7
          DIRECT AND CIRCUMSTANTIAL EVIDENCE
     Evidence may be direct or circumstantial. Direct evidence is direct

proof of a fact, such as testimony by a witness about what that witness

personally saw or heard or did. Circumstantial evidence is proof of one

or more facts from which you could find another fact. You should

consider both kinds of evidence. The law makes no distinction between

the weight to be given to either direct or circumstantial evidence. It is for

you to decide how much weight to give to any evidence.




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                         INSTRUCTION 8
                     RULING ON OBJECTIONS
     There are rules of evidence that control what can be received into

evidence. When a lawyer asked a question or offered an exhibit into

evidence and a lawyer on the other side thought that it was not permitted

by the rules of evidence, that lawyer may have objected. If I overruled

the objection, the question may have been answered, or the exhibit may

have been received. Ifl sustained the objection, the question could not

be answered, and the exhibit could not be received. If I sustained an

objection to a question, you must ignore the question and must not guess

what the answer might have been.

     Sometimes I ordered that evidence be stricken from the record and

directed that you disregard or ignore that evidence. That means that

when you are deciding the case, you must not consider the stricken

evidence for any purpose.




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                          INSTRUCTION 9
                     CREDIBILITY OF WITNESSES
      In deciding the facts in this case, you may have to decide which

testimony to believe and which testimony not to believe. You may

believe everything a witness says, or part of it, or none of it.

      In considering the testimony of any witness, you may take into

account:

   (1)        the opportunity and ability of the witness to see or hear or

      know the things testified to;

   (2)        the witness's memory;

   (3)        the witness's manner while testifying;

   (4)        the witness's interest in the outcome of the case, if any;

   (5)        the witness's bias or prejudice, if any;

   (6)        whether other evidence contradicted the witness's testimony;

   (7)        the reasonableness of the witness's testimony in light of all

         the evidence; and

   (8)        any other factors that bear on believability.



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      Sometimes a witness may say something that is not consistent with

something else he or she said. Sometimes different witnesses will give

different versions of what happened. People often forget things or make

mistakes in what they remember. Also, two people may see the same

event but remember it differently. You may consider these differences,

but do not decide that testimony is untrue just because it differs from

other testimony.

     However, if you decide that a witness has deliberately testified

untruthfully about something important, you may choose not to believe

anything that witness said. On the other hand, if you think the witness

testified untruthfully about some things but told the truth about others,

you may accept the part you think is true and ignore the rest.

     The weight of the evidence as to a fact does not necessarily depend

on the number of witnesses who testify. What is important is how

believable the witnesses were, and how much weight you think their

testimony deserves.




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                    INSTRUCTION 10
            IMPEACHMENT EVIDENCE - WITNESS
     Any evidence that a witness has given conflicting evidence or lied

under oath on a prior occasion may be considered, along with all other

evidence, in deciding whether or not to believe the witness and how

much weight to give to the testimony of the witness and for no other

purpose.




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                           INSTRUCTION 11
                           EXPERT OPINION
     You have heard testimony from Spencer Fomby, who testified

about his opinions and the reasons for those opinions. This opinion

testimony is allowed, because of the specialized knowledge, skill,

experience, training, or education of the witness.

      Such opinion testimony should be judged like any other testimony.

You may accept it or reject it and give it as much weight as you think it

deserves, considering the witness's specialized knowledge, skill,

experience, training, or education, the reasons given for the opinion, and

all the other evidence in the case.




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                  INSTRUCTION 12
 CLAIM ONE: SECTION 1983 CLAIM AGAINST DEFENDANT
              DAMERVILLE - ELEMENTS
      The Fourth Amendment protects "the right of the people to be

secure" from "unreasonable searches and seizures." A seizure ofa

person is unreasonable under the Fourth Amendment if a police officer

uses excessive force.

      Plaintiff brings her claim of an alleged violation of her Fourth

Amendment rights based on the use of excessive force under a federal

statute, 42 U.S.C. § 1983. This statute provides that any person who,

under color of state law, deprives another of any rights, privileges, or

immunities secured by the Constitution or the laws of the United States

shall be liable to the injured party.

      In order to prevail on a§ 1983 claim against Sgt. Damerville, the

Plaintiff must prove by a preponderance of the evidence each of the

following:

      (1)    The Defendant acted under color of state law.




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      (2)   The act of the Defendant deprived the Plaintiff of particular

      rights under the United States Constitution, as explained in the

      following instruction,

      (3)   The Defendant's conduct was an actual cause of the claimed

      Injury.


      A person acts "under color of state law" when the person acts or

purports to act in the performance of official duties under any state,

county, or municipal law, ordinance, or regulation. The parties have

stipulated that Defendant Damerville was acting under color of state law.

      The defendant's conduct is an actual cause of a plaintiffs injury

only if the injury would not have occurred 'but for' that conduct, and the

conduct has a sufficient connection to the result.

      If you find the Plaintiff has proved each of these elements, and if

you find that the Plaintiff has proved all the elements the Plaintiff is

required to prove under Instruction 13, your verdict should be for the

Plaintiff. If, on the other hand, you find that the Plaintiff has failed to

prove any one or more of these elements, your verdict should be for the

Defendant on Claim One.
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                  INSTRUCTION 13
 CLAIM ONE: SECTION 1983 CLAIM AGAINST DEFENDANT
         DAMERVILLE - EXCESSIVE FORCE
      A police officer's use of force in making a lawful arrest, or in

defending himself or others, is unreasonable under the Fourth

Amendment if the police officer uses excessive force under the

circumstances. Therefore, to establish a claim of excessive force in this

case, Plaintiff must prove by a preponderance of the evidence that Sgt.

Damerville used excessive force when he pepper-sprayed Plaintiff.

      Under the Fourth Amendment, a police officer may only use such

force as is "objectively reasonable" under all of the circumstances. You

must judge the reasonableness of a particular use of force from the

perspective of a reasonable officer on the scene and not with the 20/20

vision of hindsight. Keep in mind that an officer is not required to use

the least amount or type of force possible; whether the officer could

have hypothetically used less painful, less injurious, or more effective

force is not the issue. What the law requires is that they act reasonably

under the totality of the circumstances as they existed at the time.



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Although the facts known to Defendant Damerville are relevant to your

inquiry, his subjective intent or motive is not relevant to your inquiry.

     To determine whether an officer's use of force was objectively

reasonable under the circumstances, you may consider the following, in

addition to any other factors you find relevant:

      1.   The nature of the crime or other circumstances known to the

     officer at the time force was applied;

     2.    Whether Plaintiff posed an immediate threat to the safety of

     the officer or to others;

     3.    The amount of time the officer had to determine the type and

     amount of force that reasonably appeared necessary, and any

     changing circumstances during that period;

     4.    The relationship between the need for the use of force and the

     amount of force used;

     5.    The extent of the Plaintiff's injury;

     6.    Any effort made by the officer to temper or limit the amount

     of force;

     7.    The severity of the security problem at issue;
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     8.   Whether it was practical for the officer to give warning of the

imminent use of force, and whether such warning was given; and

     9.   The City's interest in creating a safe zone for officers to carry

     out their law enforcement duties.




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                   INSTRUCTION 14
    CLAIM TWO: BATTERY CLAIM AGAINST DEFENDANT
            CITY OF PORTLAND - ELEMENTS
      Plaintiff claims that Defendant the City of Portland, through

Defendant Damerville, committed a battery. In order to prove this claim,

Plaintiff must prove by a preponderance of the evidence each of the

following:

      (1)    That Defendant Damerville intended to cause harmful or

      offensive contact with the plaintiff; and

      (2)    Damerville's actions directly or indirectly caused a harmful

      or offensive contact with the plaintiff.

      Intent to commit a battery means either: (1) the actor desired to

cause the consequence of his actions; or (2) the actor believed that the

consequences were substantially certain to result from his actions.

     Damerville was an employee or agent of the Defendant City of

Portland, acting within the scope of his employment and duties. As a

result, the City of Portland is the party that would be liable for any

battery that may have been committed by him.



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                 INSTRUCTION 15
  AFFIRMATIVE DEFENSE TO BATTERY: JUSTIFICATION
      Defendant City of Portland has raised the affirmative defense of

justification to Plaintiffs claim of battery. That is, Defendant City of

Portland claims that Sgt. Damerville was justified in pepper-spraying

Plaintiff to carry out his law-enforcement duties. If this defense is

proved by a preponderance of the evidence, then it is sufficient to defeat

Plaintiffs battery claim.

     A police officer is justified in using physical force so long as the

force exerted by the officer against plaintiff was no more than

reasonably necessary under the circumstances to accomplish the

officer's law enforcement duties.




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                 INSTRUCTION 16
 FAILURE TO FOLLOW DIRECTIONS OF A PARK OFFICER
      A person may not refuse or fail to obey the reasonable directions of

a Park Officer. Police officers are considered to be Park Officers when

engaged in their official duties in a Park. A direction of a Park Officer is

reasonable if it is reasonably related to protection of the health, welfare

or safety of the person or of any other person in the Park or to the

prevention of damage to property, or if it is reasonably necessary to

preserve the peace or to prevent the disruption of any organized activity

or permitted event in the Park.




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                           INSTRUCTION 17
                             CAUSATION
      Plaintiff claims that Defendants' conduct caused her injury. The

defendant's conduct is a cause of the plaintiffs injury if the injury

would not have occurred when and as it did but for that conduct;

conversely, the defendant's conduct is not a cause of the plaintiffs

injury if that injury would have occurred when and as it did without that

conduct.

     Many factors may operate either independently or together to

cause an injury; in such a case, each may be a cause of the injury. You

may find that the defendant's conduct caused the injury even though it

was not the only cause. In deciding whether the defendant's conduct is a

cause of the plaintiffs injury, you are not to consider whether that

conduct was more important or less important than any other factor in

causing the injury.




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                           INSTRUCTION 18
                              DAMAGES
      It is the duty of the Court to instruct you about the types and

measures of damages you may potentially award. By instructing you on

damages, the Court is by no means suggesting the party for whom you

should render your verdict. The Court is simply advising you on what to

consider regarding damages if you do find for Plaintiff.

      If you find for Plaintiff, you must determine her damages. Plaintiff

has the burden of proving damages by a preponderance of the evidence.

Damages mean the amount of money which will reasonably and fairly

compensate Plaintiff for any injury you find was caused by the

Defendants. You should consider the mental, physical, and emotional

pain and suffering experienced and that with reasonable probability will

be experienced in the future.

     It is for you to determine what damages, if any, have been proved.

     Your award must be based upon evidence and not upon

speculation, guesswork, or conjecture.




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                           INSTRUCTION 19
                          NOMINAL DAMAGES
     The law that applies to this case authorizes an award of nominal

damages. If you find for Plaintiff but you find that Plaintiff has failed to

prove damages as defined in these instructions, you must award nominal

damages. Nominal damages may not exceed one dollar.




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                        INSTRUCTION 20
                   NO DUPLICATIVE DAMAGES
     You are instructed that you cannot award duplicative damages on

multiple claims. You can only compensate Plaintiff one time for any

injury. In other words, you cannot award damages for the same injury on

more than one of Plaintiff's claims.




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         DELIBERATIONS AND RETURN OF VERDICT




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                         INSTRUCTION 21
                       DUTY TO DELIBERATE
      Before you begin your deliberations, elect one member of the jury

as your presiding juror. The presiding juror will preside over the

deliberations and serve as the spokesperson for the jury in court.


      You shall diligently strive to reach agreement with all of the other

jurors if you can do so. Your verdict must be unanimous.


      Each of you must decide the case for yourself, but you should do

so only after you have considered all of the evidence, discussed it fully

with the other jurors, and listened to their views.


      It is important that you attempt to reach a unanimous verdict but,

of course, only if each of you can do so after having made your own

conscientious decision. Do not be unwilling to change your opinion if

the discussion persuades you that you should. But do not come to a

decision simply because other jurors think it is right, or change an honest

belief about the weight and effect of the evidence simply to reach a

verdict.


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                      INSTRUCTION 22
              EVIDENCE IN ELECTRONIC FORMAT
     Those exhibits received in evidence that are capable of being

displayed electronically will be provided to you in that form, and you

will be able to view them in the jury room. A computer will be available

to you in the jury room.

     A court technician will show you how to operate the computer and

how to locate and view the exhibits on the computer. You will also be

provided with a paper list and paper copies of all exhibits received in

evidence. If you need additional equipment or supplies or if you have

questions about how to operate the computer or any other equipment,

you may send a note to the Courtroom Deputy, signed by your presiding

juror or by one or more members of the jury. Do not refer to or discuss

any exhibit you were attempting to view.

     If a technical problem or question requires hands-on maintenance

or instruction, a court technician may enter the jury room with the

Courtroom Deputy present for the sole purpose of assuring that the only

matter that is discussed is the technical problem. When the court


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technician or any nonjuror is in the jury room, the jury shall not

deliberate. No juror may say anything to the court technician or any

nonjuror other than to describe the technical problem or to seek

information about operation of the equipment. Do not discuss any

exhibit or any aspect of the case.

        The sole purpose of providing the computer in the jury room is to

enable jurors to view the exhibits received in evidence in this case. You

may not use the computer for any other purpose. At my direction,

technicians have taken steps to ensure that the computer does not permit

access to the Internet or to any "outside" website, database, directory,

game, or other material. Do not attempt to alter the computer to obtain

access to such materials. If you discover that the computer provides or

allows access to such materials, you must inform the court immediately

and refrain from viewing such materials. Do not remove the computer

or any electronic data from the jury room, and do not copy any such

data.




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                INSTRUCTION 23
 COMMUNICATION WITH COURT DURING DELIBERATIONS
      If it becomes necessary during your deliberations to communicate

with me, you may send a note through the Courtroom Deputy, signed by

your presiding juror or by one or more members of the jury. No member

of the jury should ever attempt to communicate with me except by a

signed writing. I will communicate with any member of the jury on

anything concerning the case only in writing or here in open court. If

you send out a question, I will consult with the lawyers before answering

it, which may take some time. You may continue your deliberations

while waiting for the answer to any question. Remember that you are not

to tell anyone-including me-how the jury stands, whether in terms of

vote count or otherwise, until after you have reached a unanimous

verdict or have been discharged. Do not disclose any vote count in any

note to the court.




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                         INSTRUCTION 24
                       RETURN OF VERDICT
     A verdict form has been prepared for you. After you have reached

unanimous agreement on a verdict, your presiding juror should complete

the verdict form according to your deliberations, sign and date it, and

advise the Courtroom Deputy that you are ready to return to the

courtroom.




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